         Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 1 of 11




NEWMAN | WILLIAMS
A PROFESSIONAL CORPORATION

BY: GERARD J. GEIGER, ESQUIRE         ATTORNEY FOR: Carbon County, Monroe County,
IDENTIFICATION NO. PA 44099           Pike County, and Snyder County Boards of Election
LAW OFFICES
712 MONROE STREET
P.O. BOX 511
STROUDSBURG, PA 18360-0511
(570) 421-9090 (voice)
(570) 424-9739 (fax)
ggeiger@newmanwilliams.com




                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

   DONALD J. TRUMP FOR                       No. 2:20-CV-00966-NR
   PRESIDENT, et al.,
           Plaintiffs,                       Judge J. Nicholas Ranjan

   v.                                        Electronically Filed Document

   KATHY BOOCKVAR, et al.,
           Defendants


   Answer to Plaintiffs’ Motion for Expedited Discovery (ECF No. 6) by
Carbon County Board of Elections, Monroe County Board of Elections, Pike
    County Board of Elections, and Snyder County Board of Elections

        The Defendants, Carbon County Board of Elections, Monroe County

Board of Elections, Pike County Board of Elections, and Snyder County

Board of Elections, answer Plaintiffs’ Motion for Expedited Discovery as

follows:

   1. Denied. Defendants, Carbon County Board of Elections, Monroe

        County Board of Elections, Pike County Board of Elections, and
 Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 2 of 11




Snyder County Board of Elections (“C-M-P-S Counties”) deny there

have been serious deviations from the Pennsylvania Election Code in

their Counties and deny that the responding Counties will conduct

the November election in a manner inconsistent with either

Pennsylvania law or the U.S. Constitution. In fact, plaintiffs have

taken a shot-gun approach in their lawsuit, uniformly charging all

counties with improprieties in the primary that simply do not apply to

the C-M-P-S Counties. Had plaintiffs contacted the “C-M-P-S

Counties prior to filing suit, they would have learned that. Notably,

plaintiffs do not have standing to sue the responding Counties and

thus expedited discovery is impermissible. A number of the plaintiffs

are not running for election in the C-M-P-S Counties, do not reside in

those Counties and thus have no standing to sue the “C-M-P-S

Counties. Second, the standing of the plaintiff campaign to sue for

federal constitutional violations is limited, which may provide the

defendants with a basis for seeking the dismissal of the plaintiffs’

lawsuit pursuant to Rule 12. Third, the plaintiffs demand expedited

discovery and the Court has required a response to the request

without giving sufficient time to the Counties to retain counsel,

determine what discovery is available, what may be protected by
    Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 3 of 11




  attorney-client privilege, and without giving defense counsel an

  opportunity to conduct an investigation to determine what

  information is responsive. A formal response to the complaint is not

  even due because the summons against the defendant boards of

  election was not issued until June 30, 2020. Defense counsel was just

  retained by the C-M-P-S Counties and has not had adequate time to

  meet with each of the boards of election to formulate a response and

  adequately research the legal issues which may limit or bar the

  plaintiffs’ requests. In terms of jurisdiction, the conduct of

  Pennsylvania elections is more properly an issue which is within the

  jurisdiction of the Pennsylvania Commonwealth Court which is the

  proper forum for this lawsuit. Finally, even if the plaintiffs’ claims

  were a matter for federal District Court jurisdiction, the proper venue

  for this lawsuit is in the U.S. District Court for the Middle District of

  Pennsylvania. All of the C-M-P-S Counties are within the Middle

  District and should not have to defend a claim in the Western

  District.


2. Denied. Defendants deny this paragraph for the reasons set forth in

  paragraph 1. Additionally, at least some of the information sought by

  the plaintiffs relating to the primary election will be available from
    Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 4 of 11




  the Commonwealth of Pennsylvania in early August. It is also

  difficult for the defense to provide a more comprehensive response

  given the inadequate time that has been given for defense counsel to

  meet with his clients and review the information plaintiffs seek.

  Plaintiffs should not be permitted to engage in unrestricted discovery

  on an expedited basis before defendants can even fully evaluate

  whether plaintiffs have a proper basis for a claim and can formulate a

  defense. This is a claim not just for injunctive relief but includes

  claims for attorney’s fees. Allowing plaintiffs expedited and unlimited

  discovery without limitation will increase the defendants’ exposure to

  attorneys’ fees even before they have had a chance to challenge the

  claim and the scope of discovery.


3. Denied. Defendants deny they acted in violation of the Pennsylvania

  election laws in conducting the 2020 primary.


4. Denied. Defendants deny they acted in violation of the Pennsylvania

  election laws in conducting the 2020 primary.


5. Denied. The plaintiffs’ lawsuit against the responding defendants is:


     a. Filed without consideration to how each responding County

        conducted its primary election and will conduct the general
    Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 5 of 11




        election and blaming the responding Counties for alleged

        improprieties that do not apply to them..


     b. Filed in the U.S. District Court for the Western District of

        Pennsylvania, which is an improper venue for the claims against

        the responding Counties;


     c. Filed in federal court instead of the Pennsylvania

        Commonwealth Court, which is the proper venue for a lawsuit

        based on Pennsylvania Election law.


     d. Filed without confirming what procedures are actually in place

        in the responding Counties.


6. Admitted in part and denied in part. Defendants agree on the

  importance of having a ruling on election procedures, if they are

  going to be changed, in sufficient time prior to the election to

  implement revised policies to the extent the Court orders them to be

  modified in a manner inconsistent with existing policies.


7. Denied.


8. Admitted in part and denied in part. Defendants admit plaintiff wants

  this discovery. However, defendants do not agree that discovery is
    Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 6 of 11




  necessary to decide what policies must be followed to comply with

  Pennsylvania election law. If plaintiffs did not have the information

  they list in this paragraph when they accused the responding Counties

  of violating Pennsylvania election law, then this lawsuit was

  improperly filed. How the primary was handled is irrelevant to the

  court’s ruling on how the November election should be held. Plaintiffs

  raise legal issues and discovery is unnecessary to decide those issues.

  This is not a claim for past money damages but a claim for

  prospective relief on what Pennsylvania election law requires.


9. Denied. The defendants deny this paragraph for the reasons set forth

  in their answer to paragraph 8.


10.Admitted in part and denied in part. Defendants admit the rule allows

  for a speedy hearing. Defendants deny plaintiffs are entitled to

  “speedy” discovery or any discovery at all.


11. Admitted. Defendants admit the rule allows for a speedy hearing.

  Defendants deny plaintiffs are entitled to “speedy” discovery or any

  discovery at all. Defendants also deny that the Western District is the

  appropriate venue for this case or that the federal court should
    Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 7 of 11




  exercise jurisdiction over a voting case that belongs in the

  Commonwealth Court.


12. Denied. Defendants deny this paragraph as constituting conclusions

  of law.


13.Denied. Defendants deny this paragraph as constituting conclusions

  of law.


14.Denied. Defendants deny this paragraph as constituting conclusions

  of law.


15.Denied. Defendants deny this paragraph as constituting conclusions

  of law.


16.Denied. Defendants deny this paragraph as constituting conclusions

  of law. Additionally, no discovery is necessary to decide the issues

  raised in this complaint. Plaintiffs raise legal issues. Resolution of

  these legal issues does not require a factual record as to what

  happened in the primary election.


17.Denied. Defendants deny this paragraph as constituting conclusions

  of law. Additionally, no discovery is necessary to decide the issues

  raised in this complaint. Plaintiffs raise legal issues. Resolution of
    Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 8 of 11




   these legal issues does not require a factual record as to what

   happened in the primary election.


18.Denied. Defendants deny this paragraph as constituting conclusions

   of law. Additionally, no discovery is necessary to decide the issues

   raised in this complaint. Plaintiffs raise legal issues. Resolution of

   these legal issues does not require a factual record as to what

   happened in the primary election.


19. Admitted. But plaintiffs filed this lawsuit against the responding

   parties in the wrong jurisdiction and venue and without a factual

   basis for claiming that the responding Counties violated Pennsylvania

   election law.


20.Denied. Defendants deny this paragraph as constituting conclusions

   of law. Additionally, no discovery is necessary to decide the issues

   raised in this complaint. Plaintiffs raise legal issues. Resolution of

   these legal issues does not require a factual record as to what

   happened in the primary election.


21. Denied. The responding defendants are being required to respond to

   discovery in a very limited time and in an improper jurisdiction in

   which they have no contact. In terms of fairness:
 Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 9 of 11




  a. Plaintiffs accuse the responding Counties of improprieties that

     do not apply to these Counties. They make allegations as if

     every County had the same procedures;


  b. Plaintiffs sue the responding Counties in the U.S. District Court

     for the Western District of Pennsylvania when all of the

     responding parties are situated in the Middle District;


  c. Plaintiffs sue the responding Counties when the proper venue

     for an election law case is the Pennsylvania Commonwealth

     Court;


  d. Plaintiffs demand attorney’s fees against the responding parties

     for acts that did not occur;


  e. The plaintiff politicians are not running for election in any of

     the responding Counties nor do the individual plaintiffs reside

     in the responding Counties.


  f. Plaintiffs do not have standing to sue the responding Counties.


WHEREFORE, the defendants ask the Court to deny the plaintiffs’

motion.
      Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 10 of 11




                            NEWMAN | WILLIAMS

                            By: /s Gerard J. Geiger
                                  Gerard J. Geiger, Esquire
                                  Attorney I.D. PA 44099
Date: July 13, 2020
      Case 2:20-cv-00966-NR Document 77 Filed 07/13/20 Page 11 of 11




                          Certificate of Service

     I hereby certify that, on this date, all counsel of record were served

with a copy of this document via ECF.



                             NEWMAN | WILLIAMS

                             By: /s Gerard J. Geiger
                                   Gerard J. Geiger, Esquire
                                   Attorney I.D. PA 44099
Date: July 13, 2020
